                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE




UNITED STATES OF AMERICA

      v.                                    No. 3:25-cr-115

                                            Judge Waverly D. Crenshaw, Jr.
KILMAR ARMANDO ABREGO GARCIA,


                        Defendant.




           MOTION AND MEMORANDUM OF LAW IN SUPPORT OF
           ISSUANCE OF ORDER REQUIRING COMPLIANCE WITH
                      LOCAL CRIMINAL RULE 2.01




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                                PRELIMINARY STATEMENT

         From the moment Kilmar Armando Abrego Garcia challenged his illegal rendition to El

Salvador in March 2025, the government has repeatedly maligned him in public statements.

Instead of complying with the Supreme Court’s order that it “facilitate” Mr. Abrego’s return to the

United States, the government launched a public disparagement campaign against him to justify

his unlawful detention in El Salvador’s notorious Terrorism Confinement Center (“CECOT”), one

of the most violent, inhumane prisons in the world. As Mr. Abrego’s plight captured national

attention, officials occupying the highest positions of the United States government baselessly

labeled him a “gangbanger,” “monster,” “illegal predator,” “illegal alien terrorist,” “wife beater,”

“barbarian,” and “human trafficker.” The Vice President, a Yale Law School graduate, went so far

as to flatly lie about Mr. Abrego, calling him a “convicted MS-13 gang member,” notwithstanding

that Mr. Abrego in fact has never been convicted of any crime at all.

        When the Department of Homeland Security (“DHS”) and the Department of Justice

(“DOJ”) finally retrieved Mr. Abrego from El Salvador, only to indict him on human smuggling

charges in this District, the government did not stop attacking him. Instead, on the day of Mr.

Abrego’s initial appearance, he was assailed in no fewer than twenty separate public statements

from across the Executive Branch. In announcing the charges against Mr. Abrego, Attorney

General Bondi held a news conference at which she detailed irrelevant, baseless allegations that

Mr. Abrego “solicited nude photographs and videos of a minor” and “played a role in the murder

of a rival gang member’s mother.”1




1
 See Attorney General Bondi News Conference, C-SPAN (June 6, 2025) [hereinafter Bondi News
Conference],   https://www.c-span.org/program/news-conference/attorney-general-bondi-news-
conference/660932.
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        And the government appears intent on continuing to try its case against Mr. Abrego in the

court of public opinion. By the government’s own account, it has thus far succeeded in influencing

public discourse: Mr. Abrego has gained “new-found prominence,” ECF 14 at 11, and, according

to the White House, “a majority [of] Americans polled know who Abrego Garcia is and think he

is an MS-13 gang member who shouldn’t have been defended.”2

        Mr. Abrego is entitled to a fair trial “by an impartial jury free from outside influences.”

Sheppard v. Maxwell, 384 U.S. 333, 362 (1966). But he is nearly certain to be denied that right if

the government, left to its own devices, stays its current course. Like all parties who appear before

this Court, the government is required to abide by Local Criminal Rule 2.01. That Rule prohibits

making “an extrajudicial statement . . . that . . . will be disseminated by public communication,

and will have a substantial likelihood of materially prejudicing an adjudicative proceeding in the

matter.” M.D. Tenn. L. Crim. R. 2.01(a)(1). The Rule applies equally to lawyers and “the

government agencies or offices . . . and employees of such . . . government agencies or offices,

with which the lawyer is associated.” Id. 2.01(a)(4). Thus far, the government has completely

disregarded and repeatedly violated this Rule.

        In accordance with the Court’s duty to “protect [its] processes from prejudicial outside

interferences,” Sheppard, 384 U.S. at 363, Mr. Abrego respectfully requests that this Court enter

an order requiring the parties to follow Local Criminal Rule 2.01 and to ensure that all associated

agencies and employees “govern themselves” in accordance with that Rule. See United States v.

Darden, No. 17 Cr. 124 (M.D. Tenn. Apr. 29, 2019), ECF 1356.




2
 Abigail Jackson (@ATJackson), X (June 16, 2025, 2:25 PM), https://x.com/ATJackson47/status/
1934678808948273594.
                                                 2
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                                        BACKGROUND

I.       Mr. Abrego’s Illegal Deportation to El Salvador

         Mr. Abrego came to the United States from El Salvador as a teenager to escape gang

violence. See Abrego Garcia v. Noem, No. 25 Civ. 951, 2025 WL 1014261, at *2 (D. Md. Apr. 6,

2025). In 2019, after the government commenced removal proceedings, an immigration judge

granted Mr. Abrego withholding of removal, finding a clear probability of future persecution if

Mr. Abrego were deported to El Salvador. Id. In March 2025, as part of the Administration’s push

for mass deportations, President Trump invoked the Alien Enemies Act and began deporting

individuals to El Salvador, where they were detained at CECOT, “a notorious supermax prison

known for widespread human rights violations.” See id. at *3. Although Mr. Abrego was subject

to withholding of removal, he was arrested by Immigration and Customs Enforcement (“ICE”)

officers and, on March 15, removed to El Salvador. See id.

         Mr. Abrego sued to challenge his removal. In defending that suit, the government admitted

in a sworn declaration that it had made an “administrative error” in deporting Mr. Abrego. See

Abrego Garcia v. Noem, No. 25 Civ. 951 (D. Md. Mar. 31, 2025), ECF 11, at 3, 19; id., ECF 11-

3 ¶ 15.3 Mr. Abrego won favorable preliminary rulings in district court and from the Fourth Circuit,

and on April 10, 2025, the Supreme Court agreed with those courts that Mr. Abrego had been

“improperly sent to El Salvador,” and ordered the government to “facilitate” Mr. Abrego’s “release

from custody in El Salvador.” Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018 (2025).




3
  The lawyer who signed the government’s brief referencing this confession of “administrative
error” was fired from the Department of Justice, he argues, because he had candidly acknowledged
the government’s tragic error. See Letter from Dana L. Gold, Gov’t Accountability Project, et al.
to Michael E. Horowitz, Inspector Gen., U.S. Dep’t of Just., et al. 1-2, 23-24 (June 24, 2025),
https://www.judiciary.senate.gov/imo/media/doc/06-24-2025_-_Protected_Whistleblower_
Disclosure_of_Erez_Reuveni_Redacted.pdf.
                                                 3
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II.     The Government’s Publicity Campaign Against Mr. Abrego

        Rather than facilitate Mr. Abrego’s release from custody, the government began a public

campaign to justify Mr. Abrego’s deportation. Within a week of Mr. Abrego’s commencing a

lawsuit challenging his removal to and confinement at CECOT, Executive Branch officials began

making inflammatory statements about Mr. Abrego’s character, reputation, and supposed criminal

history. Officials within DOJ and DHS—the case agency investigating Mr. Abrego as part of Joint

Task Force Vulcan, see ECF 60 at 2-3—joined in these efforts, publicly asserting that Mr. Abrego

is a member of MS-13 involved in human trafficking.4

        Notably, these prejudicial comments did not cease after the investigation in this case began

in late April5—if anything, they intensified. On April 30, DHS Assistant Secretary for Public

Affairs Tricia McLaughlin released a statement calling Mr. Abrego “a violent illegal alien who

abuses women and children” and a “confirmed member of MS-13.”6 That same day, another DHS

press release “set[ting] the record straight” on Mr. Abrego asserted that he was “far from innocent,”

claimed that two courts had ruled that he was “a member of MS-13,” and discussed details of the



4
  See, e.g., Kristi Noem to Newsmax: Man Deported in Error ‘Very Dangerous’, Newsmax (Apr.
4, 2025), https://www.newsmax.com/newsmax-tv/kristi-noem-deported-kilmar-abrego-garcia/
2025/04/04/id/1205764/ (Noem: “[H]e was a gang member, violent criminal, definitely a member
of one of these terrorist organizations and did not belong in this country and needed to face
consequences.”); Forbes Breaking News, Bondi Asked Why Abrego Garcia Must Stay in Foreign
Prison If Admin Admitted Deportation Was Mistake, YouTube (Apr. 8, 2025),
https://www.youtube.com/watch?v=MXh4lmUAKZA (Bondi: “[H]e is a known gang member.”);
Homan to Newsmax: Abrego Garcia Has Himself to Blame, Newsmax (Apr. 11, 2025),
https://www.newsmax.com/newsmax-tv/homan-abrego-garcia/2025/04/11/id/1206624/ (Homan:
“He’s a MS-13 gang member, according to our intelligence and . . . the intelligence of El
Salvador.”).
5
  At the June 13 hearing before Judge Holmes, the government’s witness testified that he was
assigned to the investigation into Mr. Abrego on April 28, suggesting that the investigation had
begun by at least that date, if not earlier. See ECF 61 at 12:19.
6
  Press Release, Dep’t of Homeland Sec., DHS Reveals Second Domestic Abuse Filing Filed by
Kilmar Abrego Garcia’s Wife (Apr. 30, 2025), https://www.dhs.gov/news/2025/04/30/dhs-
reveals-second-domestic-abuse-filing-filed-kilmar-abrego-garcias-wife.
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2022 traffic stop now underpinning the government’s case.7 “Border Czar” Tom Homan went on

Fox News the next day to call Mr. Abrego a “gang member-terrorist-public safety threat-wife

beater.”8 And just a week before the grand jury returned the indictment in this case, DHS Secretary

Kristi Noem proclaimed Mr. Abrego to be “a known terrorist, member of MS-13, a wife beater,

and a human trafficker.”9

III.    Mr. Abrego’s Return to the United States and Indictment

        The government secured an indictment on May 21, 2025. See ECF 3. Upon presenting the

indictment to the government of El Salvador, Mr. Abrego was returned to U.S. custody. He arrived

in the United States on June 6, when prosecutors unsealed the indictment. See ECF 43 at 3 & n.2.

        Once Mr. Abrego was back on U.S. soil, the DOJ and DHS redoubled their efforts to

publicly discredit him. On the day of his first appearance in this District—as part of a larger

coordinated effort within the Executive Branch10—DOJ and DHS officials executed a media blitz

to attack Mr. Abrego.11 At every turn, the government has continued to broadcast its claims about

Mr. Abrego’s purported criminality and bad character. The government’s public statements sweep

far beyond the charges in the indictment—or the government’s improperly expressed opinions


7
   Press Release, Dep’t of Homeland Sec., 100 Days of Fighting Fake News (Apr. 30, 2025),
https://www.dhs.gov/news/2025/04/30/100-days-fighting-fake-news.
8
  Tom Homan Responds to New Allegations Against Deported MS-13 Suspect: ‘A Public Safety
Threat’, Fox News (May 1, 2025), https://www.foxnews.com/video/6372177667112.
9
  The Economic Times, ‘I’m Not Here for This’: Kristi Noem Fumes at House Hearing over Kilmar
Abrego Garcia’s Deportation, YouTube (May 14, 2025) [hereinafter Noem House Hearing],
https://www.youtube.com/watch?v=vAyUpm9VqlU.
10
   There were no fewer than twenty press conferences, TV appearances, and social media posts
involving members of the Executive Branch. See infra note 11; see also, e.g., Stephen Miller
(@StephenM), X (June 6, 2025, 5:26 PM), https://x.com/StephenM/status/1931100469515993431;
Abigail Jackson (@ATJackson47), X (June 6, 2025, 4:45 PM), https://x.com/ATJackson47/status/
1931090178468118843; Karoline Leavitt (@PressSec), X (June 6, 2025, 4:20 PM), https://x.com/
PressSec/status/1931083870130040952.
11
   Bondi News Conference, supra note 1; Ingraham Angle, Kilmar Abrego Garcia Was Indicted
on ‘Very Serious’ Charges, US Deputy Attorney General Says, Fox News (June 6, 2025),
https://www.foxnews.com/video/6373969491112.
                                                5
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about their merit. For instance, in announcing the charges, Attorney General Bondi held a news

conference at which she detailed irrelevant, false and wildly prejudicial allegations that Mr.

Abrego “solicited nude photographs and videos of a minor” and “played a role in the murder of a

rival gang member’s mother.”12 That same day, Secretary Noem called Mr. Abrego “a known MS-

13 gang member, human trafficker, and serial domestic abuser.”13

       Thus far, the government’s unabated public disparagement of Mr. Abrego has far outpaced

its ability to muster actual evidence, notwithstanding its extraordinary efforts to conjure up such

evidence. On the day Magistrate Judge Holmes recognized, in denying the government’s motion

for pretrial detention, that “the government failed to meet its burden of showing a properly

supported basis for detention on grounds that Abrego poses an irremediable danger to the

community,” ECF 43 at 51, the government told a different story to the public. Assistant Secretary

McLaughlin announced: “Kilmar Abrego Garcia is a dangerous criminal illegal alien. We have

said it for months and it remains true to this day: he will never go free on American soil.” 14 And

just last Friday, Assistant Secretary McLaughlin said of Mr. Abrego: “He’s not some innocent,

Maryland man as the media has tried to force-feed Americans for the last three months. He’s a

member of MS-13. He is a human trafficker. He’s a known wife-beater and this is a man who

should not be on U.S. soil for long and won’t be.”15



12
   Bondi News Conference, supra note 1; see also Ingraham Angle, supra note 11 (Deputy Attorney
General Todd Blanche: “He is a criminal who should be deported. . . . It’s so heartbreaking that
there are young children coming into this country and then being shipped off, or driven off by, as
alleged, by people like this man. And then we don’t know what happens to them. And you’re right,
there’s sex trafficking, there’s horrible things that happen to these people.”).
13
   Secretary Kristi Noem (@Sec_Noem), X (June 6, 2025, at 4:39 PM), https://x.com/Sec_Noem/
status/1931088689842782559.
14
   Tricia McLaughlin (@TriciaOhio), X (June 22, 2025, 7:31 PM), https://x.com/TriciaOhio/
status/1936929967423754665.
15
   Newsmax, Abrego Garcia Won’t Be on U.S. Soil Much Longer: Tricia McLaughlin, YouTube
(June 27, 2025), https://www.youtube.com/watch?v=tqOiNZ8jD58.
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                                            ARGUMENT

I.      Applicable Law

        A.      Courts Have an Affirmative Duty to Minimize the Effects of Prejudicial
                Pretrial Publicity

        It is a fundamental principle of our constitutional system that “the conclusions to be

reached in a case will be induced only by evidence and argument in open court, and not by any

outside influence, whether of private talk or public print.” Patterson v. Colorado, 205 U.S. 454,

462 (1907) (Holmes, J.). Accordingly, the Supreme Court has “long recognized that adverse

publicity can endanger the ability of a defendant to receive a fair trial.” Gannett Co. v. DePasquale,

443 U.S. 368, 378 (1979); see also Sheppard, 384 U.S. at 362 (“Due process requires that the

accused receive a trial by an impartial jury free from outside influences.”); Bridges v. California,

314 U.S. 252, 271 (1941) (“Legal trials are not like elections, to be won through the use of the

meeting-hall, the radio, and the newspaper.”). Intense pretrial publicity poses a substantial risk of

tainting the jury venire, jeopardizing the defendant’s right to a trial by an impartial jury. See Gentile

v. State Bar of Nevada, 501 U.S. 1030, 1075 (1991). Pretrial publicity also risks disseminating to

the public inadmissible evidence, the subsequent exclusion of which at trial “is rendered

meaningless.” Sheppard, 384 U.S. at 360; see also Marshall v. United States, 360 U.S. 310, 312-

13 (1959); Irvin v. Dowd, 366 U.S. 717, 728 (1961). More generally, the “carnival atmosphere”

that may be created by pretrial publicity undermines the integrity of judicial proceedings.

Sheppard, 384 U.S. at 358. Indeed, “[f]ew, if any, interests under the Constitution are more

fundamental than the right to a fair trial by ‘impartial’ jurors, and an outcome affected by

extrajudicial statements would violate that fundamental right.” Gentile, 501 U.S. at 1075.

        Trial courts therefore have “an affirmative constitutional duty to minimize the effects of

prejudicial pretrial publicity.” Gannett, 443 U.S. at 378. Courts bear a “heavy responsibility” to


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“adopt reasonable measures to avoid injury to the parties by reason of prejudicial or inflammatory

publicity.” CBS Inc. v. Young, 522 F.2d 234, 241 (6th Cir. 1975); see United States v. Trump, 88

F.4th 990, 1004 (D.C. Cir. 2023); United States v. Brown, 218 F.3d 415, 424 (5th Cir. 2000). As

part of that duty, courts must take “remedial measures that will prevent the prejudice at its

inception,” which includes “rule[s] or regulation[s]” to prevent the “divulgence of inaccurate

information, rumors, and accusations” about a defendant. Sheppard, 384 U.S. at 361, 363.

       Courts recognize the particular importance of preventing the government from engaging in

prejudicial extrajudicial statements. See id. at 361. Statements by the government pose a

heightened risk of influencing the public because of their authoritative weight. See United States

v. Koubriti, 305 F. Supp. 2d 723, 760 (E.D. Mich. 2003); United States v. Narciso, 446 F. Supp.

252, 320 (E.D. Mich. 1977); Att’y Grievance Comm’n of Md. v. Gansler, 377 Md. 656, 676 (2003).

Moreover, as the nation’s “chief prosecutor,” the Attorney General has an “equally vital and

unyielding obligation” to safeguard a defendant’s constitutional right to a fair trial. Koubriti, 305

F. Supp. 2d at 726 (formally admonishing the Attorney General for issuing potentially prejudicial

statements after the court prohibited such statements in terrorism-related case brought in the wake

of the September 11, 2001 attacks).

       The Court’s responsibility to take steps to protect its proceedings from outside influence

encompasses not just lawyers appearing before it, but also the parties. In the case of the

government, that includes the investigating agency and its officers, which are integral members of

the prosecution team. See Sheppard, 384 U.S. at 359, 361; see also Trump, 88 F.4th at 1005

(recognizing authority to regulate speech of “trial participants”); Brown, 218 F.3d at 428.

       B.      This Court Carries Out Its Duty Through Local Criminal Rule 2.01

       To safeguard the right to a fair trial and the integrity of judicial proceedings, this Court has

adopted Local Criminal Rule 2.01. Local rules “have the ‘force of law,’” United States v. Brinley,

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684 F.3d 629, 634 (6th Cir. 2012) (quoting Hollingsworth v. Perry, 558 U.S. 183, 191 (2010)),

and all parties appearing before this Court must comply with them.

       Local Criminal Rule 2.01(a)(1) precludes a lawyer who “is participating or has participated

in the investigation or litigation of a matter either directly or indirectly” from “mak[ing] an

extrajudicial statement (other than a quotation from or reference to public records) that the lawyer

knows or reasonably should know will be disseminated by public communication, and will have a

substantial likelihood of materially prejudicing an adjudicative proceeding in the matter, including

especially that will interfere with a fair trial.” M.D. Tenn. L. Crim. R. 2.01(a)(1). The Rule applies

to “the law firm and government agencies or offices, and the partners and employees of such firms,

government agencies or offices, with which the lawyer is associated.” Id. 2.01(a)(4).

       This District has identified several types of extrajudicial statements that are “more likely

than not to have a material prejudicial effect on a proceeding, even if included in the public record.”

Id. 2.01(a)(2). When an investigation is pending, extrajudicial statements concerning the

“character, credibility, reputation, or criminal record of a suspect” that are not necessary to inform

the public of the investigation or seek the public’s aid in an investigation are likely to be materially

prejudicial. Id. 2.01(a)(2)(A). Once a defendant has been charged and through the conclusion of

the trial, extrajudicial comments more likely to materially prejudice a proceeding include those

concerning:

       (i)     The prior criminal record (including arrests, indictments, or other charges
               of crime), or the character or reputation of the accused . . . ;

       (ii)    ...

       (iii)   ...

       (iv)    The character, credibility, reputation, or criminal record of a party or the
               identity, testimony, or credibility of prospective witnesses . . . ;

       (v)     The identity or nature of physical evidence expected to be presented;

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       (vi)     The fact that an accused has been charged with a crime, unless there is
                included therein a statement that the charge is merely an accusation and that
                the accused is presumed innocent unless and until proven guilty;

       (vii)    Any opinion as to the accused’s guilt or innocence, or as to the evidence in
                the case; or

       (viii)   Information that the lawyer knows or reasonably should know is likely to
                be inadmissible as evidence in a trial or that would, if disclosed, create a
                substantial risk of prejudicing an impartial trial.

Id. 2.01(a)(2)(B). On these matters, the burden is on the speaker to “show that the comment did

not pose a threat” of materially prejudicing a proceeding. Id. 2.01(a)(2).16

       The Rules of Professional Conduct governing attorneys practicing in this District similarly

require that a lawyer not “make an extrajudicial statement that the lawyer knows or reasonably

should know will be disseminated by means of public communication and will have a substantial

likelihood of materially prejudicing an adjudicative proceeding.” Tenn. Sup. Ct. R. 8, RPC 3.6;

M.D. Tenn. L. Civ. R. 83.04; see also 28 U.S.C. § 530B(a) (federal prosecutors practicing in a

state are subject to that state’s laws and rules governing attorneys). Tennessee’s Rules of

Professional Conduct impose an additional obligation on prosecutors to “refrain from making

extrajudicial comments that have a substantial likelihood of heightening public condemnation of

the accused,” other than statements that are “necessary to inform the public of the nature and extent

of the prosecutor’s action and that serve a legitimate law enforcement purpose.” Tenn. Sup. Ct. R.

8, RPC 3.8(f). Prosecutors must also “discourage investigators, law enforcement personnel, and


16
    The Rule explains that the parties are permitted, in the “proper discharge of their official or
professional obligations,” to (i) “announc[e] the fact and circumstances of arrest,” “the identity of
the investigating and arresting officer or agency, and the length of the investigation”; (ii) describe
“the evidence seized” at the time of seizure (other than a “confession, admission, or statement”);
(iii) “disclos[e] the nature, substance, or text of the charge including a brief description of the
offense charged”; (iv) “quot[e] or refer[] without comment to public records of the Court in the
case”; (v) “request[] assistance in obtaining evidence”; and (vi) “announc[e] (without further
comment) that the accused denies the charges, maintains their innocence and looks forward to their
day in court.” M.D. Tenn. L. Crim. R. 2.01(a)(2).
                                                 10
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other persons assisting or associated with the prosecutor in a criminal matter from making an

extrajudicial statement that the prosecutor would be prohibited from making under RPC 3.6 or this

Rule.” Id.17

II.    The Government’s Inflammatory and Prejudicial Statements Contravene Local
       Criminal Rule 2.01

       For months, the government has made extensive and inflammatory extrajudicial comments

about Mr. Abrego that are likely to prejudice his right to a fair trial. These comments continued

unabated—if anything they ramped up—since his indictment in this District, making clear the

government’s intent to engage in a “trial by newspaper.” See Brown, 218 F.3d at 418 (quoting

Pennekamp v. Florida, 328 U.S. 331, 359, 366 (1946) (Frankfurter, J., concurring)). The

government’s statements plainly violate Local Criminal Rule 2.01 in several ways.

       First, the government has relentlessly attacked Mr. Abrego’s character and reputation in

dozens of public statements. See M.D. Tenn. L. Crim. R. 2.01(a)(2)(B)(i). Many of the

government’s statements have been highly prejudicial and serve no justifiable law enforcement

purpose—and reflect nothing more than the lengths the government will go to in its efforts to paint

Mr. Abrego as a dangerous criminal to deflect from its mistake. For example, in announcing the

charges against Mr. Abrego, Attorney General Bondi called him “a smuggler of humans, and

children, and women,”18 while Deputy Attorney General Blanche labeled him a “criminal who




17
   Likewise, the District of Columbia, where many of the Executive Branch officials making
statements are located, provides that a lawyer “shall not make an extrajudicial statement that the
lawyer knows or reasonably should know will be disseminated by means of mass public
communication and will create a serious and imminent threat of material prejudice to the
proceeding.” D.C. R. Pro. Conduct R. 3.6. Prosecutors are to refrain from making “extrajudicial
comments which serve to heighten condemnation of the accused.” Id. 3.8(f). The same prohibitions
exist in the states where the Attorney General and other officials are members of the bar. See Fla.
R. Pro. Conduct 4-3.6; N.Y. R. Pro. Conduct 3.6.
18
   Bondi News Conference, supra note 1.
                                                11
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should be deported.”19 That same day, DHS officials called Mr. Abrego a “known MS-13 gang

member, human trafficker, and serial domestic abuser.”20 When Mr. Abrego was ordered released

on bail, a DHS official, flouting Magistrate Judge Holmes’ findings of fact, castigated him as a

“dangerous criminal illegal alien.”21

        Second, the government has expressed opinions about Mr. Abrego’s guilt and the evidence

in this case in ways that go far beyond the limited disclosures permitted by Local Criminal Rule

2.01. See M.D. Tenn. L. Crim. R. 2.01(a)(2)(B)(v), (vii). Since the indictment was returned on

May 21, DHS and DOJ officials have made countless statements asserting Mr. Abrego’s guilt

without regard to the judicial process or the presumption of innocence, calling him a “confirmed

MS-13 gang member,”22 and asserting that he is “a smuggler of humans, and children, and

women,”23 and promising that “he will never go free on American soil.”24

        Third, the government’s statements have been contaminated with irrelevant and false

claims that the DOJ “knows or reasonably should know are likely to be inadmissible as evidence

in a trial or that would, if disclosed, create a substantial risk of prejudicing an impartial trial.” M.D.

Tenn. L. Crim. R. 2.01(a)(2)(B)(viii). Numerous public comments reference highly prejudicial

allegations about Mr. Abrego that are irrelevant to the offenses charged in the indictment and



19
   Ingraham Angle, supra note 11.
20
   Noem, supra note 13; see Tricia McLaughlin (@TriciaOhio), X (June 6, 2025, 4:28 P.M.),
https://x.com/TriciaOhio/status/1931085864521679280 (“[A]n MS-13 gang member, human
trafficker and domestic abuse: Justice awaits this Salvadoran man.”); Fox News, Acting ICE
Director Blasts Los Angeles Mayor over ICE Raid Resistance, Fox News (June 7, 2025)
[hereinafter Acting ICE Director], https://www.foxnews.com/video/6373996743112 (Acting ICE
Director Todd Lyons: “Secretary Noem has said from the beginning that this man is a criminal,
he’s an MS-13 gang member . . . .”).
21
   McLaughlin, supra note 14.
22
   Homeland Security (@DHSgov), X (May 27, 2025 at 1:29 PM), https://x.com/DHSgov/status/
1927416834661220488.
23
   Bondi News Conference, supra note 1.
24
   McLaughlin, supra note 14.
                                                   12
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almost certainly inadmissible at trial. For instance, at a press conference announcing these charges,

Attorney General Bondi recounted allegations from unreliable alleged coconspirators that Mr.

Abrego “abused undocumented alien females,” “trafficked firearms and narcotics,” “solicited nude

photographs and videos of a minor,” and “played a role in the murder of a rival gang member’s

mother.”25 The government’s public statements also repeatedly include irrelevant and highly

prejudicial claims that Mr. Abrego is a “wife beater”26 and “domestic abuser.”27 And nearly all of

the government’s public statements reference Mr. Abrego’s purported affiliation with MS-13.28

These assertions are not only irrelevant and inflammatory, but also based entirely on inadmissible

hearsay, as this Court and the magistrate judge have already recognized. See ECF 55 at 11 (noting

that the government “did little to confirm, and at times may have undermined” its assertion of

Mr. Abrego’s “alleged MS-13 association”); ECF 43 at 39 (“The government’s evidence that

Abrego is a member of MS-13 consists of general statements, all double hearsay, from two

cooperating witnesses . . . . Those statements are, however, directly inconsistent with statements

by the first cooperator.”).

       Fourth, since the indictment was unsealed, the government has made nearly three dozen

statements about the fact that it has charged Mr. Abrego with a crime, without reference to the

presumption of innocence. See M.D. Tenn. L. Crim. R. 2.01(a)(2)(B)(vi). Instead, in numerous

public statements, the government has presumed Mr. Abrego guilty. See id. 2.01(a)(2)(B)(vii); see

Sheppard, 384 U.S. at 361. The government has repeatedly deemed Mr. Abrego a “criminal”29




25
   Bondi News Conference, supra note 1.
26
   Noem House Hearing, supra note 9.
27
   Noem, supra note 13.
28
   See, e.g., id.; Newsmax, supra note 15; Acting ICE Director, supra note 20.
29
   E.g., McLaughlin, supra note 14; Ingraham Angle, supra note 11; Acting ICE Director, supra
note 20.
                                                 13
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(when he in fact has no convictions). It has pronounced its belief that he will be convicted and that

“[u]pon completion of his sentence, . . . he will be returned to his home country of El Salvador.”30

III.   A Cautionary Order to Comply with Local Criminal Rule 2.01 Is Warranted Under
       the Circumstances

       In sum, the government has repeatedly violated Local Criminal Rule 2.01. A cautionary

order, directing the parties to comply with Local Criminal Rule 2.01, is therefore required to

protect the impartiality of the jury pool and the integrity of these proceedings.31

       The requested order would not be novel. The Court, and others in this District, have

previously entered orders cautioning the parties to “follow not only the letter, but also the spirit of

Local Criminal Rule 2.01” in light of the risk that “press releases, press conferences, or comments

by counsel, their associates or those to whom they report” pose to the “right to a fair trial before

an unbiased jury.” Darden, ECF 1356 at 2; see also Thomas v. Maury Cnty. Bd. of Educ., No. 18

Civ. 6 (M.D. Tenn. Sept. 18, 2018), ECF 28 at 1 (Trauger, J.) (cautioning “all parties and lawyers

in this case . . . about making public statements that are substantially likely to interfere with the

right of all parties to a fair trial” in accordance with civil analogue to Local Criminal Rule 2.01,

“[b]ecause the facts comprising the allegations in this case have been widely publicized and are

likely to continue to be widely publicized”); Newby v. CoreCivic of Tenn., LLC, No. 22 Civ. 93

(M.D. Tenn. July 15, 2022), ECF 53 at 7 (ordering plaintiffs’ attorney to “refrain from extrajudicial

statements regarding this matter and to delete those over which he has control,” except those

permitted by civil analogue to Local Criminal Rule 2.01). This order should not be limited to DOJ

but should encompass DHS, which has played an integral role in this investigation, is a member



30
  Bondi News Conference, supra note 1.
31
  The defense’s limited public statements have complied with Local Criminal Rule 2.01, which
authorizes statements necessary to protect Mr. Abrego against substantial undue prejudice
engendered by the government’s statements. See id. 2.01(a)(3).
                                                  14
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of the prosecution team, and is responsible for making some of the prejudicial statements in

relation to this case. Indeed, orders similar to that requested here are commonplace in high-profile

criminal cases across the country. See, e.g., United States v. Combs, No. 24 Cr. 542 (S.D.N.Y. Oct.

25, 2024), ECF 50 at 2 (directing “the Government, and all local and federal law enforcement

agents assigned to this case or the related investigation, assisting with this case or the related

investigation, or who have assisted with this case or the related investigation,” to comply with

analogous local rule); United States v. Manafort, No. 17 Cr. 201 (D.D.C. Nov. 8, 2017), ECF 38

at 3 (ordering the parties to refrain from making further public statements to the media or in public

settings that are “substantially likely to have a materially prejudicial effect on this case” in

compliance with the analogous local rule); United States v. McVeigh, 931 F. Supp. 756, 760 (D.

Colo. 1996) (ordering parties to comply with the “essence” of a local rule prohibiting

dissemination of extrajudicial statements).

         The government claims to have returned Mr. Abrego to the United States not to remedy its

mistake in unlawfully removing him to a notorious Salvadoran prison but to “face justice.” 32 Yet

the government has created a public narrative about Mr. Abrego that poses a “serious and imminent

threat to the administration of [that] justice.” CBS, 522 F.2d at 239. Mr. Abrego has been a focus

of national attention since the government illegally removed him to El Salvador. But like all

defendants, he has the right to a fair trial free from outside influence. To preserve that right, the

Court should direct the parties to comply with their obligations under Local Criminal Rule 2.01.

                                         CONCLUSION

         For the foregoing reasons, Mr. Abrego respectfully requests that the Court issue an order

directing the parties to comply with Local Criminal Rule 2.01.



32
     Ingraham Angle, supra note 11.
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Dated: July 2, 2025                        Respectfully submitted,
       New York, New York

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2025, I electronically filed the foregoing document with the

clerk of the court by using the CM/ECF system, which will send a notice of Electronic Filing to

the following: Acting United States Attorney, Robert E. McGuire, 719 Church Street, Suite 3300,

Nashville, Tennessee 37203.



                                                             /s/ Sean Hecker




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